       Case 20-21119-CMB                        Doc 51        Filed 03/28/25 Entered 03/28/25 12:41:45                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              BRIAN T. FABICH


     Debtor 2              HOLLY A. FABICH
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-21119CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  M & T MORTGAGE CORP*/M&T BANK                                                    8

 Last 4 digits of any number you use to identify the debtor's account                         0   2   3   9

 Property Address:                             340 ROBERTS LN
                                               NEW CASTLE PA 16105




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        164.15

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        164.15

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        164.15



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $      $1,533.35
         The next postpetition payment is due on                 6 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     BRIAN T. FABICH                                                  Case number (if known) 20-21119CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    03/28/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     BRIAN T. FABICH                                            Case number (if known) 20-21119CMB
             Name




                                             Disbursement History

Date         Check #     Name                                 Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
03/25/2022 1228655       M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                        108.54
04/26/2022 1231701       M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                         55.61
                                                                                                                   164.15

MORTGAGE REGULAR PAYMENT (Part 3)
08/25/2020   1169978     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       6,984.68
09/28/2020   1173062     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,397.45
10/26/2020   1176150     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,442.74
11/24/2020   1179227     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,442.74
12/21/2020   1182180     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,442.74
01/25/2021   1185144     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,442.74
02/22/2021   1188270     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,463.89
03/26/2021   1191549     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,463.90
04/26/2021   1194809     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,490.27
05/25/2021   1197942     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,603.58
06/25/2021   1201125     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,588.68
07/26/2021   1204326     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,673.75
08/26/2021   1207449     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,672.29
09/24/2021   1210567     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,667.97
10/25/2021   1213645     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,631.33
11/22/2021   1216681     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,633.57
12/23/2021   1219748     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,633.25
01/26/2022   1222817     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,605.73
02/23/2022   1225702     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,618.75
03/25/2022   1228655     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,561.56
04/26/2022   1231701     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,456.17
05/25/2022   1234742     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,456.17
06/27/2022   1237763     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,456.17
07/26/2022   1240708     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,456.17
08/24/2022   1243601     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,456.17
09/27/2022   1246466     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,456.17
10/25/2022   1249296     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,456.17
11/23/2022   1252070     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
12/22/2022   1254838     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
01/26/2023   1257573     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
02/23/2023   1260196     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
03/28/2023   1262959     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
04/25/2023   1265782     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
05/25/2023   1268633     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
06/26/2023   1271530     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
07/25/2023   1274302     M & T MORTGAGE                       AMOUNTS DISBURSED TO CREDITOR                       1,482.31
08/25/2023   1277073     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,482.31
09/26/2023   1279827     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,482.31
10/25/2023   1282539     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,482.31
11/27/2023   1285221     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,482.31
12/21/2023   1287814     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,586.71
01/26/2024   1290489     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
02/26/2024   1293160     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
03/26/2024   1295801     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
04/25/2024   1298455     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
05/29/2024   1301160     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
06/25/2024   1303702     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
07/25/2024   1306290     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
08/26/2024   1308872     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
09/25/2024   1311453     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
10/25/2024   1313982     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,534.51
11/25/2024   1316553     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,533.35
12/23/2024   1318960     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,533.35
01/28/2025   1321449     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,533.35
02/25/2025   1323884     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       1,533.35
03/26/2025   1326366     M & T MORTGAGE CORP*/M&T BANK        AMOUNTS DISBURSED TO CREDITOR                       3,066.70
                                                                                                                 92,056.74


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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

BRIAN T. FABICH
HOLLY A. FABICH
340 ROBERTS LANE
NEW CASTLE, PA 16105

BRYAN P KEENAN ESQ
BRYAN P KEENAN & ASSOC PC
993 GREENTREE RD STE 200
PITTSBURGH, PA 15220

M & T MORTGAGE CORP*/M&T BANK
ATTN: PAYMENT PROCESSING DEPT
POB 1288*
BUFFALO, NY 14240-1288

M & T BANK
PO BOX 840
BUFFALO, NY 14240

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




3/28/25                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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